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                                   MAGISTRATE JUDGE'S MINUTES
                           IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF ARIZONA PHOENIX
U.S. Magistrate Judge: Deborah M. Fine            Date: August 11, 2022                SEALED
USA v. Johnny Wesley Sparks                       Case Number: 22-05311MJ-001-PHX-DMF

Assistant U.S. Attorney: James Richard Knapp present
Attorney for Defendant: AFPD Jeff Williams present
Interpreter: N/A
Defendant: Present, in custody

INITIAL APPEARANCE ON RULE 5 PROCEEDINGS
Date of Arrest: August 10, 2022

Warrant issued pursuant to Indictment from the Northern District of Oklahoma in case CR 22-00115-
CVE.

Defendant states true name to be SAME and is sworn as to financial status. The Court appoints
AFPD Jeff Williams to represent the Defendant.

As required by Rule 5(f), the United States is ordered to produce all information required by Brady v.
Maryland and its progeny. Not doing so in a timely manner may result in sanctions including
exclusion of evidence, adverse jury instructions, dismissal of charges, and contempt proceedings.

Defense counsel requests a Status Conference Re: Detention Hearing and Identity Hearing be set and
further waives time.

The Court sets a Status Conference Re: Detention Hearing and Identity Hearing on 8/19/2022, at
11:00 AM, before Magistrate Judge Michael T. Morrissey in Courtroom 302.

The Defendant is ordered temporarily detained in the custody of the United States Marshal.

No Interpreter required.

Recorded By Courtsmart                                                Initial Appearance on
Deputy Clerk Lindsay Lowe                                             Rule 5 Proceedings
                                                                      05 min

                                                                      Start: 3:47 PM
                                                                      Stop: 3:52 PM

CC: AUSA; AFPD; PTS; USMS; MTM
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                                  MAGISTRATE JUDGE'S MINUTES
                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF ARIZONA – PHOENIX
U.S. Magistrate Judge: Michael T. Morrissey Date: August 19, 2022            SEALED
USA v. Johnny Wesley Sparks                      Case Number: 22-05311MJ-001-PHX-DMF

Assistant U.S. Attorney: James Richard Knapp
Attorney for Defendant: Jeffrey Allen Williams, Assistant Federal Public Defender
Interpreter: N/A
Defendant: ☒ Present ☐ Not Present ☐ Released ☒ Custody ☐ Summons ☐ Writ

STATUS HEARING RE DETENTION AND RULE 5 IDENTITY HEARING:
MINUTE ENTRY for proceedings held before Magistrate Judge Michael T. Morrissey: This is the
time set for Status Hearing re: Detention and Rule 5 Identity Hearing as to Johnny Wesley Sparks on
8/19/22. Defendant waives the Rule 5 Identity Hearing. The Court finds that Defendant is the
individual named in the indictment. Defendant reserves his right to a detention hearing for the
charging district. Defendant remains in the temporary custody of the U.S. Marshal. Warrant of
removal to issue.



Recorded By Courtsmart
Deputy Clerk Sara Quinones                                                     Start: 11:06 AM
                                                                               Stop: 11:08 AM
cc: AUSA, AFPD, PTS, USMS                                                      Total: 2 minutes
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   6                        IN THE UNITED STATES DISTRICT COURT
   7                                FOR THE DISTRICT OF ARIZONA
   8
   9     United States of America,                        No. 22-5311MJ
  10                   Plaintiff,                         BRADY ORDER
  11     v.                                               (Filed under seal)
  12     Johnny Wesley Sparks,
  13                   Defendant.
  14
  15
  16           Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, the United States
  17    is ordered to disclose in a timely manner all exculpatory evidence to the defendant(s), that
  18    is, all evidence that is favorable to the defendant(s) or tends to cast doubt on the United
  19    States’ case, as required by Brady v. Maryland, 373 U.S. 83 (1963) and its progeny. Failure
  20    to comply with this order may result in consequences, including, but not limited to, the
  21    reversal of any conviction, the exclusion of evidence, adverse jury instructions, dismissal
  22    of charges, contempt proceedings, disciplinary action, and/or sanctions by the Court.
  23           Signed this 11th day of August, 2022

  24
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  28    cc: AUSA/Dft’s Cnsl
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                                        UNITED STATES DISTRICT COURT
                                            DISTRICT OF ARIZONA
                                                   SEALED


          United States of America                      Case Number: 22-05311MJ-001-PHX-DMF
                          v.                            Charging District’s Case No.
            Johnny Wesley Sparks                              22-CR-115

                            COMMITMENT TO ANOTHER DISTRICT
         The defendant has been ordered to appear in the Northern District of Oklahoma, Tulsa Division.
The defendant may need an interpreter for this language: N/A.
         The defendant:             ☐ will retain an attorney.
                                    ☒ is requesting court-appointed counsel.
         The defendant remains in custody after the initial appearance.
         IT IS ORDERED: The United States marshal must transport the defendant, together with a
copy of this order, to the charging district and deliver the defendant to the United States marshal for
that district, or to another officer authorized to receive the defendant. The marshal or officer in the
charging district should immediately notify the United States attorney and the clerk of court for that
district of the defendant’s arrival so that further proceedings may be promptly scheduled. The clerk of
this district must promptly transmit the papers and any bail to the charging district.


Date:      8/19/22




cc: AUSA, AFPD, PTS, USMS




AO 94 (Rev. 06/09) Commitment to Another District
